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  AO 450 (Rev. 5/85) Judgment in a Civil Case


                                   UNITED STATES DISTRICT COURT

                                                DISTRICT OF HAWAII


   SUZANNE M. KITAMURA;                                     JUDGMENT IN A CIVIL CASE
   MCGRATH PROPERTIES, LLC;
   SUZANNE M. KITAMURA as                                  Case: CIVIL 12-00353-LEK-BMK
   Custodian for Dominique Angel
   Fumes, a Minor Child Born on
   12/13/1996,

                    Plaintiffs,
                       V.

   AOAO OF LIHUE TOWNHOUSE;
   RE3, LLC, REAL ESTATE
   SERVICES; WAYNE
   RICHARDSON; KAREN
   REBECCA SAKIMAE; PHILIP S.
   NERNEY; JOHN DOES 1-10;
   JANE DOES 1-10; DOE
   CORPORATIONS 1-10; DOE
   PARTNERSHIPS 1-10; DOE
   NON-PROFIT ENTITIES 1-10;
   and DOE GOVERNMENTAL
   ENTITIES 1-10,

                   Defendants.



  [T] Decision by Court. This action came for consideration before the Court.
            The issues have been considered and a decision has been rendered.




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            IT IS ORDERED AND ADJUDGED that JUDGMENT is entered as
            pursuant to and in accordance with the Court’s Order filed March 29, 2013:
            The “ORDER GRANTING (1) DEFENDANT PHILIP S. NERNEY’S
            MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO COUNT I
            AND TO DISMISS COUNTS III & IV OF THE COMPLAINT FILED
            JUNE 20, 2012; (2) DEFENDANT PHILIP S. NERNEY’S MOTION TO
            STRIKE CONCISE STATEMENT IN OPPOSITION TO MOTION AND
            MEMORANDUM IN OPPOSITION TO MOTION; AND (3)
            DEFENDANTS AOAO OF LIHUE TOWNHOUSE, RE3, LLC, REAL
            ESTATE SERVICES, WAYNE RICHARDSON, AND KAREN REBECCA
            SAKIMAE’S SUBSTANTIVE JOINDER,”wherein:

            •          Summary Judgment as to Count I of Plaintiffs’ Complaint is granted
                       in favor of defendants Philip S. Nerney; AOAO of Lihue Townhouse;
                       RE3, LLC, Real Estate Services; Wayne Richardson; and Karen
                       Rebecca Sakimae, and

            •          Counts II, III, and IV of Plaintiffs’ Complaint are DISMISSED.




                     March 29, 2013                                 SUE BEITIA
   Date                                                Clerk

                                                                /s/ Sue Beitia by AC
                                                       (By) Deputy Clerk
